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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
                           Criminal No. 22-229(1) (ECT/DJF)

United States of America,

                                  Plaintiff,

v.                                                ORDER FOR APPOINTMENT
                                                  OF COUNSEL
Brendon Michael Daugherty,

                                Defendant.


       The Court has determined that the defendant in the above matter is financially

unable to employ counsel and finds that it is in the interest of justice that counsel be

assigned.

       IT IS HEREBY ORDERED that Robert Richman, Attorney ID 226142, is

appointed as counsel pursuant to 18 U.S.C. § 3006A.


Dated: September 20, 2022                      s/David T. Schultz
                                               Honorable David T. Schultz
                                               United States Magistrate Judge
